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                                 UM TED STATES DIW RICT COG T
                                 SOUTH ERN DISTRICT OF FLORIDA
                         Caw No.24-80787-M1DDLEBROOKSO aV ev =
   M IA W ILLIAM S,eta1.,

         Plnintiffs,



   RETREAY BEHAVIQRAL IV ALTH,LLC,eta1.,
         Defendants.
                                                              /

                       O R D ER D EN U N G V A R IOU S M O TIO N S A S M O O T

         THIS CAU SE com esbefore me after entry ofm y Om nibus Ordergranting Defendants'

   Motionsto Dismiss(bE 72)'
                           ,çntered Jalwary 9,2025.My OrdergrantsPlnintiffsleavetofilea
   Second Avended Complaht on or,by January 21,2025. Having diszhissed the Aniended
   Complaint,the following M otionsare now mootand aze hereby denied:Plnintiffs'M otion for
                                                                     '
                                                .    .



   DefaultJudjment('
                   QE 52),Plaintiffs'ConsentM otiontoExtendtheYimetbServetheComplaint
   uponVariousEstates(DE56),PlaintI
                             '
                                  Vfs'MotiontoCertifyClass(D270),andPlaintiffs'Motion
   forCèrtitkationofaCollectiveAction(DE 71).
         slGM b in Chambersin W estPalin Beach,Flor
                                                 ,'idk this              y ofJaziua
                                                                                  'ry,2025.




                                                         D   ALD M .M ID D LEBR OO K S
                                                         UNITED STATESbISTRICT JUDGE

         CC:Cotmsel(?fRecord
